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               IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION

EUGENE ALVIN BROXTON,                  §
            Petitioner,                §
                                       §
v.                                     §
                                       §      CAUSE NO. 4:11-CV-00315
BOBBY LUMPKIN, Director,               §
Texas Department of Criminal           §         (Death Penalty Case)
Justice, Correctional Institutions     §
Division,                              §
                  Respondent.          §

                RESPONDENT LUMPKIN’S NOTICE OF
                    APPEARANCE OF COUNSEL

      This case involves a federal habeas proceeding filed pursuant to 28

U.S.C. § 2254 by Texas death row inmate Eugene Alvin Broxton. The

undersigned attorney hereby enters this appearance of counsel on behalf of

Respondent Bobby Lumpkin (“the Director”) and respectfully requests that a

copy of all future pleadings, orders, and other correspondence be served on him

at the address below.

                                     Respectfully submitted,

                                     KEN PAXTON
                                     Attorney General of Texas

                                     BRENT WEBSTER
                                     First Assistant Attorney General

                                     JOSH RENO
                                     Deputy Attorney General
                                     For Criminal Justice
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                                     EDWARD L. MARSHALL
                                     Chief, Criminal Appeals Division

                                     s/ Ellen Stewart-Klein
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                                     ATTORNEYS FOR RESPONDENT



                        CERTIFICATE OF SERVICE

      I do herby certify that on March 9, 2023, I electronically filed the

foregoing pleading with the Clerk of the Court for the U.S. District Court,

Southern District of Texas, using the electronic case-filing system of the Court.

The electronic case-filing system sent a “Notice of Electronic Filing” (NEF) to

the following counsel of record, who consented in writing to accept the NEF as

service of this document by electronic means:

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                                   s/ Ellen Stewart-Klein
                                   ELLEN STEWART-KLEIN
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